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                 IN THE UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF ARKANSAS
                          WESTERN DIVISION

UNITED STATES OF AMERICA,                 *
                                          *
                      Plaintiff,          *
vs.                                       *      No. 4:13-cr-00148-SWW-16
                                          *
                                          *
TARVARS HONORABLE,                        *
a/k/a Pudgy                               *
                                          *
                      Defendant.          *

                                      ORDER

      Defendant Tavars Honorable, a/k/a Pudgy, is under indictment for various

drug-related charges. The 25-count, 17-defendant superseding indictment alleges,

inter alia, a drug conspiracy that involves a Mexican drug cartel. Before the Court

is Defendant’s appeal from the Magistrate Judge’s denial of pretrial release to

impatient drug treatment and for a full de novo evidentiary hearing [doc.#217].

The government has responded in opposition to Defendant’s appeal. For the

reasons that follow, the Court affirms the Magistrate Judge’s denial of pretrial

release and denies Defendant’s request for an evidentiary hearing.

                                          I.

      Defendant made his initial appearance on May 14, 2013, and entered a plea

of not guilty. Defendant was detained. Defendant subsequently moved the Court
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for a bond hearing. The Magistrate Judge conducted a detention hearing on June

14, 2013, and afterwards ordered Defendant detained, stating as follows:

       Defendant appeared with counsel on this date for a detention hearing.
       The Court finds by clear and convincing evidence that Defendant is a
       danger to the community. In coming to this conclusion, the Court
       considered the evidence presented, including the nature of Defendant's
       offense, his criminal history, and his pattern of criminal activity while
       on probation or supervised release. Therefore, the Defendant's Motion
       for Bond (Doc. No. 116) is DENIED, and Defendant is remanded to
       the custody of the United States Marshal.

Order of Detention (E.D. Ark. June 14, 2013) [doc.#133].

       On July 7, 2013, Defendant, represented by new counsel, filed a Motion for

Pretrial Release to Inpatient Drug Treatment [doc.#183]. Defendant asked the

Magistrate Judge to reconsider the order of detention and to place the Defendant

into inpatient drug treatment. In support of his motion, the Defendant claimed that

there was a treatment facility willing to accept him and which his family was

willing to pay for. Defendant argued that this qualified as “new information”

under 18 U.S.C. § 3142 and, therefore, justified the Magistrate Judge reconsidering

his ruling.1

       On July 9, 2013, the government filed a response in opposition to

Defendant’s Motion for Pretrial Release, arguing that Defendant has not proffered


       1
         Defendant’s motion largely mirrors his appeal from the Magistrate Judge’s Order now
before the Court.

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any evidence that was not known or available to him at the time of the initial

hearing, and that even if the evidence was new, it did not have “a material bearing

[under 18 U.S.C. § 3142(f)] on the issue whether there are conditions of release

that will reasonably assure ... the safety of any other person and the community.”

In other words, argued, the government, the proffered information had no material

bearing on the Magistrate Judge’s finding that the Defendant is a danger to the

community.

      On July 11, 2013, the Magistrate Judge denied the Defendant’s Motion for

Pretrial Release, finding as follows:

            The Court finds that the proposed new information – Mr.
      Honorable’s family has arranged for his placement into a drug
      rehabilitation program – was, in fact, known and available to Mr.
      Honorable at the time of his hearing. The facts that Mr. Honorable has
      new counsel, his family was not contacted for the first hearing, and
      they had been in the process of working on finding an appropriate
      program are somewhat compelling. But while his motion states his
      mother “has contacted numerous rehabilitation centers on behalf of
      her son,” Mr. Honorable made no mention of wanting to attend a
      rehabilitation program at the hearing.

            Additionally, the Court found clear and convincing evidence
      that Mr. Honorable posed a significant danger to the community if he
      were released. Such a finding under the Bail Reform Act precludes
      any form of conditional release. See 18 U.S.C. § 3142(e). So, the fact
      that Mr. Honorable is now willing to attend a rehabilitation program is
      unavailing.

Order Denying Motion for Pretrial Release (E.D. Ark. July 11, 2013) [doc.#198].


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                                         II.

      The district court reviews a Magistrate Judge’s detention order de novo.

United States v. Maull, 773 F.2d 1479, 1484 (8th Cir. 1985) (en banc). Pursuant to

§ 3145(b), the motion “shall be determined promptly.” The district court may

either hold an evidentiary hearing or review the pleadings and evidence developed

before the Magistrate Judge. United States v. Gaviria, 828 F.2d 667 (11th Cir.

1987); United States v. Hensler, 18 F.3d 936 (5th Cir. 1994) (unpublished); see also

United States v. Barber, No. 5:12-cr-50035-001, 13-50004-001, 2013 WL

3580195, *1 (W.D. Ark. July 12, 2013) (“Although the review is de novo, and the

Court has the power to hold an evidentiary hearing if necessary and desirable, the

Court may also simply review the evidence that was before the Magistrate and

make an independent determination of whether the Magistrate’s findings are

correct.”).

      Upon de novo review of the pleadings and the recording of the detention

hearing that was held on June 14, 2013, and having considered relevant factors,

including the nature and circumstances of the offense charged, the weight of the

evidence against the Defendant, the history and characteristics of the Defendant,

and the nature and seriousness of the danger to the community or to an individual,

see 18 U.S.C. § 3142(g), the Court finds no reason to revoke or amend the


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detention order. The Court finds that the Magistrate Judge accurately set forth the

relevant facts and that his findings are supported by the record. Defendant has

failed to demonstrate that a condition or combination of conditions will reasonably

assure the safety of the community if he is released to inpatient drug treatment. In

this respect, the Court, based on clear and convincing evidence, agrees with the

Magistrate Judge that Defendant poses a significant danger to the community if he

were released, even if to inpatient drug treatment, and that such a finding under the

Bail Reform Act precludes any form of conditional release. See 18 U.S.C. §

3142(e).2 Accordingly, the fact that Defendant is now willing to attend a

rehabilitation program is unavailing.

       IT IS THEREFORE ORDERED that the Magistrate Judge’s denial of

Defendant’s pretrial release is hereby affirmed and that Defendant’s request for an

evidentiary hearing [doc.#217] is denied.


                             Dated this 23rd day of August 2013.

                                           /s/Susan Webber Wright
                                           UNITED STATES DISTRICT JUDGE




       2
         There was testimony at the detention hearing from an FBI special agent that Defendant
is a known member of the “Monroe Street Hustlers,” a routinely armed street gang that buys and
sells guns and controlled substances.

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